                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                                DOCKET NO. 3:05-CR-66-4-W


 UNITED STATES OF AMERICA                        )
                                                 )
        vs.                                      )
                                                 )
 BRIAN G. PAQUETTE,                              )                    ORDER
                                                 )
                Defendant.                       )
                                                 )

       THIS MATTER is before the Court on Defendant’s Motion to Modify Judgment (Doc. No.

54). Upon consideration of the motion and consultation with the United States Probation Office, the

Court reaffirms the reasonableness of the punishment imposed and finds that no good cause has been

shown to modify the judgment based on a previously scheduled family vacation.

       IT IS THEREFORE ORDERED that Defendant’s motion is DENIED.

                                                Signed: April 25, 2007




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